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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OKLAHOMA


   CHRISTOPHER BARNETT,                          )
                                                 )
         Plaintiff - Appellant/Cross-Appellee,   )
                                                 )
   vs.                                           )   Case No. 18-CV-00064-TCK-FHM
                                                 )
   HALL, ESTILL, HARDWICK, GABLE,                )
   GOLDEN & NELSON, P.C.; J. KEVIN               )
   HAYES, Special Administrator of the           )
   Estate of John Patrick Cremin;                )
   JOHNATHAN L. ROGERS;                          )
   UNIVERSITY OF TULSA, a private                )
   university,                                   )
                                                 )
     Defendants-Appellees/Cross-Appellants.      )

   _______________________________________

   CHRISTOPHER BARNETT,                          )
                                                 )
         Plaintiff - Appellee,                   )
                                                 )
   vs.                                           )   Case No. 18-CV-00064-TCK-FHM
                                                 )
   HALL, ESTILL, HARDWICK, GABLE,                )
   GOLDEN & NELSON, P.C.; J. KEVIN               )
   HAYES, Special Administrator of the           )
   Estate of John Patrick Cremin;                )
   JOHNATHAN L. ROGERS,                          )
                                                 )
     Defendants-Appellants,                      )
                                                 )
   and                                           )
                                                 )
   UNIVERSITY OF TULSA,                          )
                                                 )
     Defendant.                                  )




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   CHRISTOPHER BARNETT,                            )
                                                   )
         Plaintiff - Appellee,                     )
                                                   )
   vs.                                             )   Case No. 18-CV-00064-TCK-FHM
                                                   )
   UNIVERSITY OF TULSA,                            )
                                                   )
     Defendant - Appellant,                        )
                                                   )
   and                                             )
                                                   )
   HALL, ESTILL, HARDWICK, GABLE,                  )
   GOLDEN & NELSON, P.C.; J. KEVIN                 )
   HAYES, Special Administrator of the             )
   Estate of John Patrick Cremin;                  )
   JOHNATHAN L. ROGERS,                            )
                                                   )
     Defendants.                                   )

                                       OPINION AND ORDER

             Pursuant to the Mandate issued by the Tenth Circuit Court of Appeals on May 12, 2020

   (Doc. 72), affirming in part and reversing in part the judgment entered on August 23, 2018 (Doc.

   51), this Court remands the state-law claims to the Tulsa County District Court of Oklahoma, and

   finds the Defendants' cross-appeal request for attorney fees, costs, expenses, and sanctions under

   the OCPA denied as moot.

             IT IS SO ORDERED this 13th day of May, 2020.




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